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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MATTHEW DALEY                                         x   Civil Action No. 2:22-cv-01119-RBS
3913 Nancy Lane                                       :
Collegeville, PA 19426                                :
                                                      :
                       Plaintiff,                     :
                                                      :
        v.                                            :
                                                      :
NATIONAL RAILROAD PASSENGER                           :
CORPORATION (AMTRAK)                                  :
1 Massachusetts NW                                    :
Washington, DC 20001                                  :
                                                      :
                       Defendant.                     :
                                                      x


     DEFENDANT NATIONAL RAILROAD PASSENGER CORPORATION’S
 MEMORANDUM OF LAW SUPPORT OF ITS MOTION FOR PARTIAL DISMISSAL
  OF PLAINTIFF’S CLAIMS UNDER THE FEDERAL RAILROAD SAFETY ACT
                                       I..   INTRODUCTION

        Defendant National Railroad Passenger Corporation (“Amtrak”), by and through its

counsel, and pursuant to Rule 12(b)(1) and/or (6) or alternatively, Rule 56 of the Federal Rules of

Civil Procedure, hereby moves this Court for an Order dismissing any and all claims of plaintiff,

Matthew Daley (hereinafter “plaintiff”) asserted in his Amended Complaint under the

whistleblower provisions set forth in Section 20109 of the Federal Railroad Safety Act , §§ 20101,

et seq (“FRSA”).

        Although plaintiff’s Amended Complaint makes no mention of this statutory requirement,

his FRSA whistleblower claims under FRSA § 20109 can only be pursued in this Court if plaintiff

initially filed a complaint with the Secretary of Labor, 210 days have passed since the initial filing

and the Secretary of Labor has not yet issued a final decision thereon, and there is no showing of

delay due to complainant’s bad faith. See 49 U.S.C.§ 20109(d)(1)-(3); 29 C.F.R. § 1982.114(a).

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As set forth below, plaintiff does not allege and cannot show that he satisfied these statutory

conditions.

                    II.   FACTUAL AND PROCEDURAL BACKGROUND
        Below is the history of plaintiff’s FRSA whistleblower claims, beginning when he initially

filed those claims with the Secretary of Labor. Despite plaintiff’s failure to reference these events

in his Amended Complaint, this Court may take judicial notice of them for purposes of ruling on

Amtrak’s motion.

        On or about July 24, 2020, plaintiff filed his Complaint with the Department of

Occupational Health and Safety Administration (“OSHA”) alleging violations of the Federal

Railroad Safety Act, 49 U.S.C. 20109(d)(1). The Complaint was opened as OSHA docket No. 3-

6540-20-121 (the “Complaint”). On or about August 4, 2021, OSHA sent Amtrak notice of the

Complaint pursuant to 49 U.S.C. § 20109(d)(2)(A) and 49 U.S.C. § 42121 (the “Notice”). See

Notice attached at Exhibit A hereto. As the Notice reveals, plaintiff’s Complaint’s actually

consisted of allegations set forth in two undated documents, each labeled as a “Supplement

Complaint,” despite the fact that there was no document in the Notice bearing a label as a

“Complaint.” One of the undated Supplement Complaints contained allegations regarding events

during the period October 2019 through 2020 allegedly stemming from his report of unsafe

workplace conditions. See Notice, Exhibit A, pp. 5-8. The other undated Supplemental Complaint

alleged events that took place on July 14, 2020, when he allegedly reported an on-the-job injury.

See id., Notice, Exhibit A, pp. 9-12.

        On February 11, 2021, the Secretary of Labor issued a letter regarding its findings, and

dismissed the Complaint due plaintiffs’ failure to respond to a request for information (“Findings

Letter”). See February 11, 2021 Findings Letter, attached hereto at Exhibit B. The Findings were

issued following plaintiff’s lack of response to two October 21, 2020 requests for supplemental

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information, and a second request for supplemental information on December 15, 2020, which

demanded a response within ten days to avoid dismissal of the Complaint. Id., The Secretary of

Labor informed plaintiff of his right to appeal its dismissal of the OSHA Complaint within thirty

(30) days. Id. The February 11, 2021 Findings further advised that “if no objections are filed,

these Findings will become final and not subject to court review.” Id. (emphasis added)

Plaintiff did not file objections or request a hearing before an Administrative Law Judge in

response to the February 11, 2021 Findings Letter. Nor did he commence a federal court action

based on his FRSA claim before the Secretary’s dismissal order became final and non-appealable.

        On or about March 23, 2022, approximately one year after the Secretary’s order became

final and non-appealable, plaintiff filed a Complaint against Amtrak in this Court. The Civil Cover

Sheet indicated it was a Federal Employer’s Liability Act (“FELA”) action, but the Complaint

itself alleged no jurisdictional basis for the suit. See Docket Entry No. 1. On May 17, 2022, with

Amtrak’s consent, plaintiff moved in this Court to amend his Complaint. See Docket Entry No. 8.

On June 9, 2022, the Court granted plaintiff’s motion and the Amended Complaint was filed. See

Docket Entry Nos. 9 and 10. A copy is attached hereto at Exhibit C. The Amended Complaint

asserts causes of action under both the FELA and the FRSA. Exhibit C at ¶ 4. The Amended

Complaint in this action substantially tracks the FRSA allegations set forth in one of the two so-

called Supplement Complaints previously filed with OSHA, specifically the allegations relating to

a workplace injury he allegedly sustained on July 14, 2020 Compare Exhibit A, pp. 9-12, ¶¶ 1-

25 with Exhibit C ¶¶ 6-30.

        The Amended Complaint in this action alleges in conclusory fashion that the suit is brought

under the FRSA. See Exhibit C ¶ 4. However, it is devoid of any factual allegations necessary to

support any original action in this court seeking relief under the FRSA. Specifically, an FRSA



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claim can only be pursued in federal court with respect to the Complaint plaintiff filed with the

Secretary of Labor under the FRSA if the “Secretary of Labor has not issued a final decision

within 210 days after the filing of the complaint [with the Secretary of Labor] and if the delay is

not due to the bad faith of the employee.”49 U.S.C. § 20109(d)(3). Plaintiff does not and cannot

allege facts needed to support an original action under the FRSA in this Court.

                                    III.   LEGAL STANDARD

        A.          Motion to Dismiss for Lack of Subject Matter Jurisdiction

        A district court must dismiss a matter if it lacks subject matter jurisdiction over the

complaint. Fed.R.Civ.P. 12(b)(1). See Moyer Packing Co. v. United States, 567 F. Supp. 2d 737,

750 (E.D. Pa. 2008). Federal courts are courts of limited jurisdiction, and may hear only cases

entrusted to them by a grant of power contained either in the Constitution or by an Act of Congress.

See Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994). See also Lee v. Lamas,

419 F. Supp. 3d 863, 867 (E.D. Pa. 2019) (“If the Court determines that it lacks subject matter

jurisdiction, [the] Federal Rules of Civil Procedure require dismissal.”). Rule 12(b)(1) motions

can either be “facial”, which attack the complaint on its face, or “factual”, which attacks subject

matter jurisdiction as a fact. Mortenson v. First Fed. Sav. & Loan Ass’n, 549 F.2d 884, 891 (3d.

Cir. 1977).

        A complaint under a facial attack may be properly dismissed “when the claim ‘clearly

appears to be immaterial and made solely for the purpose of obtaining jurisdiction . . . or is wholly

insubstantive and frivolous.” Kehr Packages Inc. v. Fidelcor, Inc., 926 F.2d 1406, 1408-09 (3d

Cir. 1991). When considering a factual challenge, the court may weigh the evidence and satisfy

itself as to the existence of its power to hear the case, and “no presumptive truthfulness attaches to

the complaint’s allegations” U.S. Airline Pilots Ass’n v. U.S. Airways, Inc., 2013 WL 5466838 at



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*2 (W.D. Pa., September 30, 2013) (citing Petruska v. Gannon Unvi. 462 F.3d 294, 302 n.3 (3d

Cir. 2006). Therefore, a 12(b)(1) factual challenge strips the plaintiff of the protections and factual

deference provided under 12(b)(6) review. See, e.g., Davis v. Wells Fargo, 824 F.3d 333, 348-50

(3d Cir. 2016); See also Hartig Drug Co. Inc. v. Senju Pharm. Co., 836 F.3d 261, 268 (3d Cir.

2016).

         B.             Motion to Dismiss for Failure to State a Claim

         Rule 12(b)(6) of the Federal Rules of Civil Procedure authorizes a defendant to move to

dismiss for “failure to state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). A

Rule 12(b)(6) motion may be granted when, “accepting all well-pleaded allegations in the

complaint as true and viewing them in the light most favorable to the plaintiff, a court finds the

plaintiff's claims lack facial plausibility.” Warren Gen. Hosp. v. Amgen Inc., 643 F.3d 77, 84 (3d

Cir. 2011) (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555–56 (2007)).

           In deciding the motion, the Court may consider the facts alleged on the face of the

complaint, as well as “documents incorporated into the complaint by reference, and matters of

which a court may take judicial notice.” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308,

322 (2007). Decisions of administrative bodies are among the type of public records that are

properly the subject of judicial notice. Sturgeon v. Pharmerica Corp., 438 F. Supp. 3d 246, 258

(E.D. Pa. 2020); see also Fadaie v. Alaska Airlines, Inc., 293 F. Supp. 2d 1210, 1214-15 (W.D.

Wash. 2003) (holding that OSHA administrative decisions in particular were subject to judicial

notice).

         Although the Court must accept the factual allegations in the complaint as true, it is not

compelled to accept “unsupported conclusions and unwarranted inferences, or a legal conclusion

couched as a factual allegation.” Morrow v. Balaski, 719 F.3d 160, 165 (3d Cir.



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2013) (quoting Baraka v. McGreevey, 481 F.3d 187, 195 (3d Cir. 2007)). Nor is it required to

credit factual allegations contradicted by indisputably authentic documents on which the complaint

relies or matters of public record of which we may take judicial notice. In re Washington Mut. Inc.,

741 Fed. App'x 88, 91 n.3 (3d Cir. 2018); Sourovelis v. City of Philadelphia, 246 F. Supp. 3d 1058,

1075 (E.D. Pa. 2017); Banks v. Cty. of Allegheny, 568 F. Supp. 2d 579, 588–89 (W.D. Pa. 2008).

        C.          Motion for Summary Judgment

        “If, on a motion under Rule 12(b)(6) . . . matters outside the pleadings are presented to and

not excluded by the court, the motion must be treated as one for summary judgment under Rule

56.” Fed. R. Civ. P. 12(d). Fed. R. Civ. P. 56 provides that a motion for summary judgment shall

be granted if the pleadings, depositions, answers to interrogatories, and admissions on file, together

with the affidavits, show that that there is no genuine issue as to material fact and that the moving

party is entitled to a judgment as a matter of law. Fed. R. Civ. P. 56(a) and (c). A dispute over a

material fact is genuine when, upon review of the evidence, a reasonable jury could find for the

non-moving party. Anderson v. Lobby, Inc., 477 U.S. 242, 248 (1986). Thus, “only disputes over

facts that might affect the outcome of the suit under the governing law will properly preclude the

entry of summary judgment.” Id.




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                                             IV.      ARGUMENT

        Amtrak seeks dismissal of Plaintiff’s FRSA claim under Fed. R. Civ. P. 12(b)(1) or (6), or

alternatively, under Rule 56, for lack of subject matter jurisdiction and/or failure to state a claim

upon which relief can be granted. Plaintiff’s FRSA claim set forth in the Amended Complaint is

the same FRSA claim asserted in his second supplement Complaint filed with OSHA that was

dismissed via the February 11, 2011 Finding. Plaintiff did not file timely objections necessary to

exhaust remedies, making the Findings Letter final and not subject to judicial review.

A.      FRSA Exhaustion of Remedy Requirement

        Section 20109 of the FRSA prohibits rail carriers from retaliating against employees who

engage in certain protected activities. To pursue a request for relief under FRSA, a plaintiff must

first timely "[file] a complaint with the Secretary of Labor” within 180 days. 49 U.S.C. §

20109(d)(1) and (2)(ii). When a complaint is properly filed with the Secretary, there is first an

evaluation of whether it makes a prima facie showing. 49 U.S.C. §42121(b)(2)(B)(i)1; 29 C.F.R.

§ 1982.104.(e)(1). If the prima facie hurdle is passed, the Secretary determines whether there is

reasonable cause to believe the Complaint has merit and issues written findings. 29 C.F.R.

§1982.105(a). If the decision is adverse to the plaintiff, the Assistant Secretary will notify the

parties of that finding. 49 U.S.C. § 32121(b)(2)(A); 29 C.F.R. § 1982.105(a)(2). The complainant

then has thirty days to object and request a hearing; if no objection, the findings become a final

order not subject to judicial review. 49 U.S.C. § 42121(b)(2)(A); 29 C.F.R. §1982.106(a), (b).2


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        Any action under the FRSA is governed by the rules and procedures set forth in 49 U.S.C. § 42121(b). 49
U.S.C. 20109(d)(2)(A).
2
        29 C.F.R. §1982.106 provides:

        (a) Any party who desires review, including judicial review, of the findings and preliminary order,
        . . . must file any objections and/or a request for a hearing on the record within 30 days of receipt
        of the findings and Findings pursuant to § 1982.105. The objections and/or request for a hearing
        must be in writing and state whether the objections are to the findings and/or the Findings, and/or

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See also Guerra v. Consolidated Rail Corp., 936 F.3d 124, 129 n.2 and n.3 (3d. Cir. 2019)

(recognizing that a preliminary order that is not objected to becomes final and not subject to

judicial review under 29 C.F.R. § 1982.106(b)).

        The requirement to exhaust all administrative remedies before seeking judicial relief is a

“basic tenant” of administrative law. McKart v. United States, 395 U.S. 185, 193 (1969). The

FRSA is no exception. See e.g. Foster v. BNSF Ry. Co., 866 F.3d 962, 966 (8th Cir. 2017)

(rejecting the plaintiff’s argument that the FRSA did not include an administrative exhaustion

requirement and that failure to exhaust administrative remedies warrants dismissal); Lincoln v.

BNSF Ry. Co., 900 F.3d 1166, 1210-11 (10th Cir. 2018) (noting the exhaustion of remedies

requirement with regard to FRSA claims); Lee v. Norfolk Southern Ry., 802 F.3d 626, 630 (2015)

(recognizing that FRSA retaliation complaints are first resolved by OSHA and the Secretary of

Labor and then in the district courts after exhausting these administrative procedures). A party’s

failure to object to preliminary findings within thirty days under Section 42121(b), 29 C.F.R.

§1982.106, or a sister regulation (i.e. 29 C.F.R. §1979.106(b) for retaliation claims under the



        whether there should be an award of attorney fees. The date of the postmark, facsimile transmittal,
        or electronic transmittal is considered the date of filing; if the objection is filed in person, by hand-
        delivery or other means, the objection is filed upon receipt. Objections must be filed with the Chief
        Administrative Law Judge, U.S. Department of Labor, in accordance with 29 CFR part 18, and
        copies of the objections must be served at the same time on the other parties of record, the OSHA
        official who issued the findings and order, the Assistant Secretary, and the Associate Solicitor,
        Division of Fair Labor Standards, U.S. Department of Labor.



          (b) If a timely objection is filed, all provisions of the Findings will be stayed, except for the
          portion requiring preliminary reinstatement, which will not be automatically stayed. The portion
          of the Findings requiring reinstatement will be effective immediately upon the respondent's
          receipt of the findings and Findings, regardless of any objections to the order. The respondent
          may file a motion with the Office of Administrative Law Judges for a stay of the Assistant
          Secretary's Findings of reinstatement, which shall be granted only based on exceptional
          circumstances. If no timely objection is filed with respect to either the findings or the Findings,
          the findings and/or Findings will become the final decision of the Secretary, not subject to
          judicial review.


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Taxpayer First Act)) is a failure to exhaust an administrative that warrant dismissal of future

actions under Rule 12(b)(6) or Rule 56. See Monroe v. Storey, 2021 WL 6333024 at *1 (E.D.

Texas, October 27, 2021) (granting summary judgment against defendant restaurant for failing to

comply with adverse preliminary rulings letter and for forfeiting the right to challenge it in the

District Court action by failing to object to it within 30 days, per 29 C.F.R. § 1979.106(b)).

Exhaustion of remedies under the FRSA has also been explicitly recognized as a condition

precedent to seeking judicial review. See also See e.g. King v. Ind. Harbor Belt R.R., 2017 WL

9565363, *4-5 (N.D. Ind., February 1, 2017) (holding that a failure to exhaust administrative

remedies in a FRSA constitutes a failure to satisfy a condition precedent to bringing suit); see also

Fort Bend Cty. v. Davis, 139 S. Ct. 1843, 1851 (2019) (noting that Title VII’s administrative

exhaustion requirement is not a jurisdictional prerequisite, but, rather, a statutory condition

precedent).

B.      Proper Motion Standard

        The Third Circuit has generally held that administrative exhaustion are best resolved under

Rule 12(b)(6), see Robinson v. Daulton, 107 F.3d 1018, 1022 (3d. Cir. 1997); In Willis v. Financial

Group, Inc., 2004 WL 1774575 at *2, n.3 (E.D. Pa., August 6, 2004), this Court recognized that

the “Third Circuit treats motions based on administrative exhaustion requirements as motions for

failure to state a claim under Rule 12(b)(6) as opposed to motions for lack of subject matter

jurisdiction under Rule 12(b)(1).”). Administrative exhaustion challenges that are “in the nature

of statute of limitations” must be decided under the Rule 12(b)(6) standard. Angelino v. New York

Times Co., 200 F.3d, 73, 87 (3d. Cir. 1999). The FRSA’s 180-day statute of limitations for

administrative claims is nonjurisdictional and challenges based on it are subject to Rule 12(b)(6).

Guerra v. Consol Rail. Corp., 936 F.3d 124, 131-35 (3d Cir. 2019).



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        However, final orders issued by the Secretary of Labor are properly challenged under Rule

12(b)(1). See Mullen v. Norfolk Souther Ry. Co., 2015 WL 3457493 at * 10-11 (W.D. Pa., May

29, 2015) (dismissing a federal kick out action filed 113 days after the Secretary of Labor issued a

final Order). See also Lebron v. AIG, Inc., 2009 WL 3364039 (S.D. N.Y., October 19, 2009)

(granting a Rule 12(b)(1) motion based on the plaintiff’s failure to appeal the preliminary findings

rendered by the Secretary in a Sarbanes Oxley (“SOX”) matter within the 30 days); and Geary v.

Parexel International Corporation, 2022 WL 827250 (N.D. Cal., March 18, 2022) (recognizing

the failure to exhaust administrative remedies, including the failure to object to the Secretary of

Labor’s Findings under the SOX and Regulation 1980.106 as a basis for dismissal due to a lack of

subject matter jurisdiction made pursuant to a Rule 12(b)(1) motion).

        Plaintiff’s Complaint is ripe for dismissal because it cannot survive a facial and factual

attack under Rule 12(b)(1), and fails to state a claim upon which relief can be granted under Rule

12(b)(6).

C.      Plaintiff’s FRSA claim Must be Dismissed because has not Exhausted the
        Administrative Remedies for Pursuing a Claim under the FRSA and the Secretary of
        Labor’s Findings Letter is a Final Order

        Plaintiff’s FRSA claim in the Amended Complaint pleads no facts showing any compliance

with the administrative requirements set forth 49 U.S.C. 42121(b). (See Exh. C). Plaintiff did not

plead that he filed an administrative Complaint with OSHA or that his request for de novo review

with this Court is appropriate under 49 U.S.C. 20109(d)(3). Therefore, his FRSA claim cannot

survive a facial attack and must be dismissed pursuant to Rule 12(b)(1).

        Plaintiff’s FRSA claim also cannot survive a factual attack under Rule 12(b)(1) or a motion

to dismiss under Rule 12(b)(6) based on the procedural history set forth in the February 11, 2021

Findings Letter. Plaintiff failed to exhaust his administrative remedies in pursuing his FRSA claim



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by not objecting to the February 11, 2021 Findings Letter. Consistent with 49 U.S.C. 42121(b),

and 29 C.F.R. §1982.106(b), the Findings Letter provided that the parties “have thirty (30) days

from receipt . . . to file objections and request a hearing before an Administrative Law Judge” and

that “if no objections are filed, these Findings will become final and not subject to court review.”

Exh. C. The precise date of plaintiff’s receipt of the Findings Letter is unconfirmed, but assuming

they were received by February 18, 2021, within five business days of mailing, the Findings Letter

would have become final by March 22, 2021. Plaintiff did not object the finding within that time,

rendering the February 11, 2011 Findings Letter and Order final, and not subject to judicial review.

Plaintiff’s failure to exhaust additional administrative remedies under the FRSA was a condition

precedent to seeking judicial review before this Court. Plaintiff’s failure to satisfy this condition

makes his FRSA claim here ripe for dismissal.

        As noted above, the FRSA contains a kick out provision that permits an employee to bring

an original action in a district court if the Secretary of Labor has not issued a final decision within

210 days of filing the initial complaint:

        (3) De novo review.—


          With respect to a complaint under paragraph (1), if the Secretary of Labor has
          not issued a final decision within 210 days after the filing of the complaint and
          if the delay is not due to the bad faith of the employee, the employee may bring
          an original action at law or equity for de novo review in the appropriate district
          court of the United States, which shall have jurisdiction over such an action
          without regard to the amount in controversy, and which action shall, at the
          request of either party to such action, be tried by the court with a jury.
49 U.S.C. 20109(d)(3). The plain language of the accompanying regulation 1982.114(a), also

provides:


          If there is no final order of the Secretary, 210 days have passed since the
          filing of the complaint, and there is no showing that there has been delay
          due to the bad faith of the complainant, the complainant may bring an action

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          at law or equity for de novo review in the appropriate district court of the United
          States, which will have jurisdiction over such an action without regard to the
          amount in controversy. At the request of either party, the action shall be tried by
          the court with a jury.
29 C.F.R. § 1982.114(a) (emphasis added). A plain reading of this regulation makes clear that a

de novo action can only be filed if there is no final order of the Secretary. See id. The February

11, 2021 Findings Letter was issued 202 days after the initial complaint filing, and were not

deemed final until after the 210-day mark. Assuming arguendo, plaintiff could have “kicked out”

to this Court within 30 days of receiving the Findings Letter instead of filing objections, before

they became final. However, having not filed this action until March 23, 2022, approximately one

year after the Findings Letter became a final order, plaintiff missed the opportunity to do so.

        Plaintiff may argue that his request for de novo review in this action should survive a

motion to dismiss because the Findings did not become final until after the 210-day mark. This

Court should reject this argument, if made, because the Secretary’s delayed issuance of the

Findings, which did not become final until after the 210-day mark, was due to the bad faith of

plaintiff (“the employee”). Per the Findings, on October 21, 2020, the Secretary’s office requested

by email basic information and documentation in support of his retaliation claim, including the

contact information of potential witnesses, within ten days. (See Exh. C). That same day,

plaintiff’s counsel emailed the Secretary’s office advising that the complaint was being

supplemented with a social media post. Id. The Secretary’s office responded asking counsel to

provide context and clarify the significance of the submission. Id. On December 15, 2020, after

nearly two months with no response from plaintiff, the Secretary’s office sent plaintiff’s counsel a

letter asking that the requested information be provided within ten (10) days, to avoid dismissal of

the Complaint. Id. Plaintiff continued to fail to respond to this follow up request, delaying the

Assistant Secretary’s ability to conduct meaningful administrative review, and eventually leaving


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the Assistant Secretary no other choice but to issue the Findings Letter dismissing the Complaint.

Had plaintiff engaged in good faith participation of the OSHA proceedings and timely provided

the basic information requested by the Office of the Secretary, the Findings Letter could have been

issued well ahead of the 210-day mark. Therefore, this Court should dismiss plaintiff’s FRSA

claim brought in the amended complaint, irrespective of the timing of the Findings Letter

becoming final, due to his bad faith conduct in violation of Section 20109(3).

        This Court should also reject this interpretation of Section 20109(d)(3) in favor of one that

is consistent with finality, establishes a limiting principle, and that avoids absurdity. The Western

District of Pennsylvania in Mullen addressed a similar situation in determining it lacked subject

matter jurisdiction over a kicked out Complaint because a Final Decision and Order of Dismissal

had been issued by the Arbitration Review Board following an adverse decision by the assigned

ALJ. 2015 WL 3457493 at *9-11. The Court rejected any plaintiff’s interpretation of Section

20109(d)(3) that the kick out suit was permitted because that final order had been issued after the

210-day mark of the filing of the initial administrative complaint:


           Section 20109(d)(3) of Title 49 does not . . . include an unlimited right to bring
          suit; rather, it states an “employee may bring an original action at law or equity
          for de novo review in the appropriate district court” if the Secretary “has
          not issued a final decision within 210 days after the filing of the complaint.”
          This limitation has practical significance: the plaintiff may bring a de novo
          action at any point after the 210–day interim period and until the Secretary issues
          a final decision. Nowhere in the statute did Congress authorize a de novo action
          so long as the Secretary did not issue a final decision within 210 days. To be
          sure, FRSA only includes a limited grant of jurisdiction to federal district courts,
          which must be jealously guarded.



          ...




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          In sum this Court aggress with [the] defendant that the 210-day kick-out
          provision was designed to protect a plaintiff from administrative delay rather
          than to grant [him] an unlimited right to bring a duplicative suit in federal court
          even after an authorized final decision had been issued by the Secretary.

Id. at *9 and *11.
        The Southern District of New York also addressed a similar situation regarding a Sarbanes-

Oxley (“SOX”) whistleblower claim in Lebron v. AIG, 2009 WL 3364039 (S.D. N.Y., Oct 19,

2009) with respect to a preliminary order made final, like this action.       SOX is also subject to

Section 42121(b), and contains a similar “kick out” administrative procedure for claims to the

FRSA, where a claimant may request de novo review of a federal district court when a final order

has not been issued within 180 days of the initial filing of the complaint (instead of 210 days under

the FRSA).

        In Lebron, the Secretary issued and the plaintiff received preliminary findings within 180

days, but those findings did not become final until after the 180-day mark. Id. at *5. The Court

recognized the irreconcilable ambiguity in Section 42121(b); it could not simultaneously review a

claim de novo and determine it did not have the power to review a final order. Id. The court

resolved the ambiguity in favor of administrative finality, holding that if “the Secretary does not

issue a final order within 180 days of the filing of the administrative complaint, the complainant

has thirty days from receiving the preliminary order to either file a claim in the district court or

appeal the preliminary order to the ALJ and there by preserve the option to file a district court

claim at a later time.” Id. To hold otherwise would permit a future plaintiff in a similar case from

filing a claim for de novo review months, or even years after allowing a preliminary order to

become final, a clear absurd result that would completely undermine the concept of finality. Id.

The Lebron Court would not permit plaintiff’s filing of the Complaint approximately one year

after a preliminary order became final, and this Court should follow suit.


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         Amtrak acknowledges that there several decision in this District that are contrary to Mullen

and Lebron, namely Glista v. Norfolk S. Ry. Co., 2014 WL 1123374 (E.D. Pa., March 21, 2014)

and Mullen v. Nortfolk S. Ry. Co., 2014 WL 1370119 (E.D. Pa, April 8, 2014) (“EDPA Mullen”),

the latter of which addressed the claimant’s FRSA claim in Mullen, retained jurisdiction, and

transferred the matter to the Western District of Pennsylvania.                   However, Amtrak respectfully

requests that this Court reject the reasoning of those decision that provides a plaintiff an unlimited

right to file a kick out action their interpretation undermines the FRSA’s grant of limited

jurisdiction to the district courts. Mullen, 2015 WL 34574493 at *9. In addition, claimants in both

Glista and EDPA Mullen filed Notices of Intent to seek de novo review, which were required under

than regulation 1982.114(b), and prompted the Courts in those decisions to prioritize

administrative fairness or characterize the order of dismissal as “non-substantive closing of the

administrative proceedings.” See Glista 2014 WL 1123374 at *6-7 and EDPA Mullen, 2014 WL

1370119 at * 6. In this action, plaintiff signaled no intention whatsoever to that he was filing a

kick out action before or after the February 11, 2021 Letter Findings were issued, did not

meaningfully participate in the administrative proceedings before the Letter findings were issued,

and therefore does not deserve the same consideration given to the plaintiffs in Glista or EDPA

Mullen.

D.       Plaintiff Cannot Circumvent the Exhaustion of Remedies Requirement by
         Contending He Never Received the Findings Letter

         Plaintiff may argue that the exhaustion of administrative remedies argument is inapplicable

or that equitable tolling3 permits the late filing of this Action because his counsel never have



3
  Equitable tolling may be appropriate: (1) where the defendant actively mislead the plaintiff; (2) where the plaintiff
in some extraordinary way has been prevented from asserting his rights or (3) where the plaintiff timely asserted his
rights mistakenly in the wrong forum. Fenton, III v. Port Auth. Of NY and NY, 777 Fed. Appx. 45, 48 (3d Cir., July
12, 2019) (citing Oshiver v. Levin, Fishbein, Sedran & Berman, 38 F.3d 1380, 1387 (3d. Cir. 1994). See also

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received the February 11, 2021 Findings Letter. However, this argument will lack merit if made.

First, plaintiff’s counsel changed addresses from 1580 Walnut Street (address listed in the 2020

FRSA Supplement Complaints) to 1420 Broad Street (address listed in the 2022 Complaint and

Amended Complaint). If plaintiff’s counsel changed addresses before the February 11, 2021 order,

he was obligated to provide the Executive Secretary and counsel for Amtrak with an updated

address:


           Every pleading or document filed by any party . . . shall contain the name,
           current address, telephone number, and email address of the party’s . . .
           representative[.] . . . Any change in such information shall be communicated
           promptly in writing to the Judge, or the Executive Secretary if no Judge has
           been assigned, and to all other parties . . . . A party . . . who fails to furnish such
           information shall be deemed to have waived its right to notice and service under
           these rules.
See 29 C.F.R. § 2200.6 (emphasis added). See also Secretary of Labor v. Destiny Builders

Construction Services, Inc., 2021 O.S.H.D. (CCH), 2021 WL 1822549 (March 22, 2021).

Plaintiff has not plead or provided any evidence that counsel complied with this regulation.

Therefore, if counsel moved offices before the Findings Letter issued, his right to notice and

service of them was waived.

        Second, plaintiff has not pled and will otherwise be unable satisfy his burden of proof of

non-receipt of the Findings Letter. Vazquez v. Caesar’s Paradise Stream Resort, 2010 WL

11483946 at *3 (M.D. Pa., September 30, 2010) (“the law presumes timely delivery of a properly

addressed piece of mail”) (quoting Bobbitt v. Freeman Cos, 268 F. 3d 535, 538 (7th Cir. 2001);

and United States v. Dancy, 2008 WL 936921 (M.D. Pa. April 4, 2008) ("The burden of proving

non-receipt . . . of notice is on the party seeking to reopen the time for appeal under Rule 4(a)(6).");



Sparre v. U.S. Dep’t of Labor, 924 F.3d 398, 403 (7th Cir. May 10, 2019) (recognizing same situations for equitable
tolling to apply to FRSA claim).

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See also Howard v. Farmers Ins. Co. 2020 WL 1935026 at *4 (D. Kan., April 22, 2020)

(concluding that the plaintiff did not meet the requirements for an extension because the Order was

sent to plaintiff and never returned as undeliverable); Watkins v. Plantation Police Dep't, 733 F.

App'x 991, 995 (11th Cir. 2018) (noting that whether the court received a returned as undeliverable

is key in analyzing a party’s contention that the order was not received); Murray v. Stan's BBQ,

No. 2:06-CV-89, 2007 WL 2021936, at *2 (E.D. Tenn., July 10, 2007) (plaintiff bore the burden

of proving she did not receive the mailed order and judgment, not the defendants or the Court).4

Here, plaintiff’s counsel has not alleged or provided any support for a claim that he did not receive

the Findings Letter. Therefore, plaintiff will be unable to satisfy the burden of proof of non-receipt.

        Third, plaintiff’s lack of diligence provides further grounds to disregard any excuse

regarding allegedly not receiving the dismissal order. See Baxter v. Mallory, 2017 U.S. Dist.

LEXIS 35931, *4, 2017 WL 1013118 ( W.D. Tenn., March 14, 2017) (holding that the plaintiff

had not shown why he is entitled to a further extension of time to file his appeal, in part because

of a failure to show diligent docket monitoring to stay informed about the case status). In this

case, plaintiff’s lack of diligence is demonstrated by his failure to respond to the Secretary of

Labor’s October 21, 2020 request for more information, failure to respond to the Secretary of

Labor’s December 15, 2020 follow up request for more information and warning of pending

dismissal, and failure to check the docket and/or monitor the case to learn about the Findings Letter

issued more than a year ago. Upon information and belief, plaintiff also never served a copy of

the complaint or amended complaint in this action on OSHA, as required by 29 C.F.R.


4
  Resendez v. Dretke, 452 F.3d 356, 361 (5th Cir.), cert. denied, 548 U.S. 921, 126 S. Ct. 2974, 165 L. Ed. 2d 981
(2006) quoting Pioneer Investment Services Co. v. Brunswick Assoc., 507 U.S. 380, 397, 113 S. Ct. 1489, 123 L. Ed.
2d 74 (1993) (the general rule is that a party who is represented by counsel is deemed to have notice of all facts of
which the attorney has notice).




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§1982.114(c), which provides:


          Within 7 days after filing a complaint in federal court, a complainant must file
          with the Assistant Secretary, the ALJ, or the ARB, depending on where the
          proceeding is pending, a copy of the file-stamped complaint. In all cases, a copy
          of the complaint must also be served on the OSHA official who issued the
          findings and/or preliminary order, the Assistant Secretary, and the Associate
          Solicitor, Division of Fair Labor Standards, U.S. Department of Labor.
29 C.F.R. §1982.114(c). Accordingly, this Court should disregard any contention from plaintiff

that his purported failure to receive the dismissal order excuses his statutory failures and, in turn,

should dismiss Plaintiff’s FRSA claim in the Amended Complaint due to his failure to exhaust

administrative remedies.

        WHEREFORE, for the foregoing reasons, defendant Amtrak respectfully requests that this

Court either dismiss Plaintiff’s FRSA claim or enter judgment in Amtrak’s favor on plaintiff’s

FRSA claim and provide such other relief that this Court deems fair and just.

                                               Respectfully submitted,

                                               LANDMAN CORSI BALLAINE & FORD P.C.


                                               BY:    /s/ Daniel J. Gillin
                                                      Daniel J. Gillin, Esq.
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                                                      Attorneys for Defendant
                                                      National Railroad Passenger
                                                      Corporation (“Amtrak”)

        Dated: June 30, 2022




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